Case 1:18-cr-00204-NGG            Document 340            Filed 02/08/19          Page 1 of 1 PageID #: 3249




                                              February 7, 2019

 Magistrate Judge Vera M. Scanlon
 Eastern District of New York
 225 Cadman Plaza East
 Brooklyn, NY 11201

        Re:     USA v. Raniere et al | 1:18-cr-00204-NGG-VMS

 Dear Judge Scanlon:

 On February 6, 2019, this Honorable Court issued an Order in the above-referenced criminal
 matter to discuss privilege issues, with an optional request for my attendance at said conference
 on February 11, 2019, at 12:30PM in New York. I received this notice on February 7, 2019 at
 approximately 1:21pm from the United States Attorney’s Office. Due to my being out of the
 country on business and not returning until late Saturday evening, my office asked Assistant United
 States Attorney, Ms. Tanya Hajjar, if there would be any objections, subject to Court approval,
 with me appearing telephonically. The United States Attorney’s Office responded they have no
 objections to my appearance by telephone.

 As such, I am respectfully requesting this Honorable Court to allow me to participate in the
 February 11, 2019, hearing on the privilege issues via telephone. Thank you for your attention to
 this matter.


                                                                      Sincerely,

                                                                      /s/ Michael J. Sullivan
                                                                      Michael J. Sullivan




        222 South Central Avenue • Suite 110 • St. Louis, MO 63105 • Tel: 314 863 7001 • Fax: 314 863 7008

                                         www.AshcroftLawFirm.com
                                   Austin • Boston • St. Louis • Washington, DC
